         Case 2:22-mc-00152-JFC Document 51 Filed 04/27/22 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

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IN RE: SoClean, Inc., Marketing, Sales                Master Docket No.: 2:22-mc-00152-JFC
Practices and Products Liability Litigation
                                                      MDL No. 3021

This document applies to: All Cases
___________________________________

                                     PRETRIAL ORDER #5

               APPOINTING THE LEADERSHIP DEVELOPMENT COMMITTEE


         WHEREFORE, plaintiffs' co-lead counsel filed a Motion to Appoint Leadership
Development Committee (ECF No. 47) and requested the court to appoint the following
attorneys to serve on a Leadership Development Committee in the above-captioned multi-district
litigation ("MDL"): Sarah Bradshaw, Ronald (“Rome”) V. Johnson, IV, Richard J. Lajaunie,
Sara Watkins, and Danielle Perry,
         NOW, this 27th day of April 2022, the court HEREBY appoints the following
attorneys to the Leadership Development Committee in this MDL: Sarah Bradshaw, Ronald
(“Rome”) V. Johnson, IV, Richard J. Lajaunie, Sara Watkins, and Danielle Perry;
         IT IS FURTHER ORDERED that the Motion to Appoint Leadership Development
Committee (ECF No. 47) is GRANTED;
          IT IS FURTHER ORDERED that the plaintiffs' co-lead counsel shall oversee the
incorporation of the talents of the members of the Leadership Development Committee
throughout the litigation; and
          IT IS FURTHER ORDERED that the members of the Leadership Development
Committee shall—where appropriate and at the discretion of the plaintiffs' co-lead counsel—
meaningfully participate in all phases of this MDL including, but not limited to, participation on
committees and subcommittees, drafting master complaints, drafting and arguing briefs,
participating in settlement negotiations, and preparing for and taking depositions of lay witnesses
and expert witnesses.
                                                    IT IS SO ORDERED.


                                                    /s/ JOY FLOWERS CONTI
                                                     JOY FLOWERS CONTI
                                                    Senior United States District Court Judge
